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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,

                        - v. -                              24-cr-00524 (JLR)

 KEITH TAYLOR,                                                     ORDER
                                 Defendant(s).


JENNIFER L. ROCHON, United States District Judge:

       Defendant shall respond to the Government’s supplemental motions in limine, Dkt. 48,

by June 6, 2025.

Dated: June 5, 2025
       New York, New York

                                                      SO ORDERED.


                                                      JENNIFER L. ROCHON
                                                      United States District Judge
